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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Richard Seeks
                                     Plaintiff,
v.                                                       Case No.: 1:19−cv−02394
                                                         Honorable John J. Tharp Jr.
Boeing Company, The, et al.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, June 20, 2019:


       MINUTE entry before the Honorable John J. Tharp, Jr: Upon receipt of the Boeing
Investor Group's notice of withdrawal [75] and Ali Alibrahim's notice of withdrawal [76]
their motions to consolidate cases, appoint lead plaintiff, and approve lead counsel, said
motions [49], [27] are denied as moot. Mailed notice (cn).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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